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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
          V.                               ) CRIMINAL CASE NO: 1:21-CR-96
                                           )
MICHAEL STEPAKOFF,                         ) SENTENCING: JANUARY 20, 2022
                                           )
                   DEFENDANT.              )
__________________________________________)


 DEFENDANT’S RESPONSE TO GOVERNMENT’S SENTENCING MEMORANDUM
———————————————————————————————————————

        In seeking an extraordinary penalty for a parading Rabbi, the government has filed a

memorandum with blatant misrepresentations of fact which amount to what could only be described as a

shameless attempt at character assassination. All the while, the government asks for this Court to impose a

penalty higher than one authorized by law — one of both probation and incarceration. The defendant,

therefore, through counsel, responds herein.



        THE GOVERNMENT’S MISREPRESENTATIONS OF FACT
———————————————————————————————————————

        The defense will present the government’s misrepresentations and inaccuracies in a bullet-point

outline for easier reference by the Court.

    A) The government introduces Michael Stepakoff in their memoranda as “a former attorney

        suspended from the practice of law and a member of the clergy.” The government later claims

        that Mr. Stepakoff is of questionable credibility due to a temporary law license suspension. The

        government justifies their request for a jail sentence and a 3-year term of probation based partly

        on this issue. Yet, the government misrepresents these facts to the court, deliberately omitting

        relevant context that directly contradicts their position.




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i.    Mr. Stepakoff advised the government that he practiced state-level criminal law in Florida

      over two decades ago, representing indigent defendants. He also advised that he stopped

      practicing criminal law 22 years ago.

ii. Mr. Stepakoff went on to explain that he practiced civil litigation for a brief period after that,

      but stopped altogether in 2006, and has since been answering a higher calling as a Rabbi.

iii. Mr. Stepakoff also revealed and explained that he was suspended from the practice of law for

      a period of 6 months, agreeing to the suspension after a four-year legal battle with a former

      client from a civil litigation issue that occurred in 2002. The suspension was for an issue that

      took place 20 years ago.

iv. The government invested taxpayer funds to investigate the two-decade-old Florida state bar

      disciplinary issue. The records indicated that Mr. Stepakoff accurately described the situation.

v. The government also knew that Mr. Stepakoff was again eligible to practice law once the

      brief six-month suspension period was completed, but he instead chose to pursue messianic

      rabbinical work. He remains so engaged to this day.

vi. The government had the audacity to allege in a public pleading that Mr. Stepakoff is

      somehow untrustworthy based on this issue — the very old issue that he, in good faith,

      voluntarily brought to the government’s attention and accurately represented. Compare Mr.

      Stepakoff to the government, who intentionally misrepresented this issue to the Court in

      knowingly seeking an excessive penalty for the defendant. The government knew that he told

      them the truth; he volunteered the information and they corroborated his statements, and then

      the government sent the defense a copy of the corroboration! Yet he is now untrustworthy?

      Why? Just because of words following a comma in the title of the disciplinary rule. The

      government has pointed to no conduct of Mr. Stepakoff to warrant such shameful ridicule.

vii. The government is fully aware that Mr. Stepakoff is a full-time Messianic Rabbi and has been

      working exclusively as a rabbi for at least 16 years. Other than to drive an excessive penalty,

      why would he be introduced as “a former attorney suspended from the practice of law and a

      member of the clergy,” when the government knows he hasn’t practiced law since 2006?

      There is no other explanation.


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        viii.Why would the government question Mr. Stepakoff’s unawareness of Capitol trespass laws

             when they know full well that he has never been barred in DC, never practiced law in DC,

             and only practiced state-level criminal law in Florida? And, even that was over 22 years ago.

             Again, the only reason is an attempt to drive up a disproportionately high sentence.

        ix. On page 20 of their Sentencing

             Memorandum, the government states that

             Mr. Stepakoff is a “nonpracticing

             attorney” — yet he is not a

             “nonpracticing attorney” licensed in any

             state; he is a Rabbi. Mr. Stepakoff retired

             from the practice of law in 2006,

             allowing his bar membership to lapse,

             and has not sought to renew his law

             license since that time — therefore not

             eligible to describe himself as an

             “attorney” or a “nonpracticing attorney.”

             A former attorney or retired lawyer is legally distinct from a “nonpracticing attorney,” a status

             that indicates an inactive but continuous level of bar membership.

        x. In what other Class B misdemeanor case has the government ever dug into a defendant’s two-

             decade-old bar discipline history in an attempt to justify jail time for a first-time non-violent

             offender accused of protesting in an area where such conduct was unlawful? I have seen

             ZERO such instances. Indeed, the government spends less time investigating the character

             backgrounds of convicted felons. Even the Florida Bar does not look to bar discipline history

             that far back, restricting their public display of attorney discipline history to the past ten

             years.1




1See Member Profile, Michael Gary Stepakoff, The Florida Bar, https://www.floridabar.org/directories/find-mbr/
profile/?num=861057.


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    xi. Moreover, the government is fully aware that one of their own lawyers, Kevin Clinesmith,

        who falsified information in the course of his federal employment that resulted in personal

        damages to civilians, received no jail time for his conduct and only one year of probation,

        when he was convicted in this District. See United States v. Clinesmith, 1:20-cr-00165,

        Document 46 (D.D.C. January 29, 2021). Mr. Clinesmith’s conduct was substantially more

        egregious than anything that Mr. Stepakoff has been accused of doing. Yet, the government

        omits mention of the Clinesmith case in their argument, even though this court must consider

        the issue of sentencing disparities per 18 U.S.C. § 3551 and 18 U.S.C. § 3553(a).

    xii. The defense, therefore, objects to the Court’s consideration of Mr. Stepakoff’s 20-year-old

        temporary bar suspension, as well as his employment as a state-level criminal defense lawyer

        22 years ago.

B) The government states that Mr. Steakoff claimed “that he believed that he was authorized to enter

    the U.S. Capitol during the riot on January 6.” Instead, Mr. Stepakoff stated that he was unaware

    that it was unlawful to enter the Capitol. He made no claim of an affirmative right to enter. The

    government certainly understands this distinction, yet presents to the Court the inaccurate words

    as if the distinction is inconsequential.

C) The government continuously refers to “a violent attack” on the Capitol. Of course, there were

    some individuals on January 6 who were violently attacking officers at the Capitol. These were

    the minority. There were also nonviolent protestors who peacefully entered the Capitol to protest,

    albeit unlawfully. Michael Stepakoff entered the Capitol amongst a group of nonviolent

    protestors. Michael Stepakoff’s entire time in the Capitol was recorded on the Capitol’s security

    cameras which show his nonviolent entry. But the government does not rely on their security

    video as primary evidence for the court to consider at sentencing. Instead, the government asks

    the court to look at the conduct of others in sentencing this defendant. This is rather incredible

    when considered against the backdrop of federal sentencing hearings. In what other case has the

    government chosen to shelve their primary evidence against the defendant and instead rely on

    euphuistic descriptions of the conduct of others who were present at different locations or at

    different times?


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              i.   Moreover, according to the FBI’s FD-302 memorandum titled “(U) Interview of Michael

                   Stepakoff on 9/13/21,” (“FBI FD-302”) the FBI agent notes, “Stepakoff did not see

                   violence or anyone breach the Capitol. When Stepakoff arrived outside the Capitol, he

                   walked left with a group of people because he was curious as to what was going on in

                   front of him … If he had seen any violence, Stepakoff would have done a U-turn and

                   walked away.”

    D) The government claims injuries to “more than one hundred law enforcement officers” but is fully

        aware that during Mr. Stepakoff’s time in the Capitol no officers were injured and that the officers

        and protestors were peacefully engaging, with at least seven protestors shaking hands with the

        officers. According to the FBI FD-302 referencing the interview with Mr. Stepakoff, on his way

        out of the Capitol, he “approached one of the officers and told him thank you for his service, we

        love you, and God bless you.” The relevant conduct in a criminal sentencing is the defendant’s

        conduct and the defendant’s knowledge at the time of the offense, not the conduct of others who

        bear but a locational, political, or temporal connection to the case.

    E) The government claims that “Stepakoff saw rioters scaling the walls and other warning signs for

        danger as he approached the entrance to the Capitol.” The government cleverly omits what the

        individuals were doing who scaled the walls once they got to the top — they waved flags. That’s

        it. Flags. Certainly, it’s dangerous to climb a wall, but not to people walking by. And flags, surely,

        are not dangerous.

        i.    In truth, the government describes an event of civil disobedience and imposes on Mr.

              Stepakoff, a man passing by, a responsibility to cease the exercise of his First Amendment

              right just because someone in the crowd around him has done something questionable.

              Certainly, the government does not ask peaceful individuals involved in BLM protests to stop

              their free expression just because someone else in the crowd had committed a crime.2 Why

              should Mr. Stepakoff be treated any differently?



2For example, at a BLM protest in DC on June 1, 2020, 316 individuals were arrested. Casey Tolan, DC police
made far more arrests at the height of Black Lives Matter protests than during the Capitol clash, CNN (1/9/2021),
https://www.cnn.com/2021/01/08/us/dc-police-arrests-blm-capitol-insurrection-invs/index.html.


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   ii. As for entering the building, Mr. Stepakoff, “saw a line of about 6 law enforcement personnel

         standing. They made no indication that people could not enter the building,” the FBI FD-302

         reads in reference to Mr. Stepakoff. “If he had seen any violence, Stepakoff would have done

         a U-turn and walked away.”

F) The government claims that Mr. Stepakoff “should have known that his actions were both

   unlawful and dangerous.” Yet the government has no evidence to corroborate the claim that Mr.

   Stepakoff did anything dangerous; indeed, there were multiple police officers present during his

   entry into the Capitol and not one of them asked him to leave or showed any concern for his

   conduct. Mr. Stepakoff did not behave dangerously. Entry into the hallway of the Capitol was

   certainly unlawful and unwise — but Mr. Stepakoff’s actions were not “dangerous.”

G) The government claims that because the Capitol doors had been breached, by someone else and at

   a time before Mr. Stepakoff arrived, he should go to jail.

   i.    The government asked Mr. Stepakoff whether he saw anyone breach those Capitol doors and

         learned that he was not even present when this occurred. The government conveniently

         excludes this tidbit. The FBI FD-302 reads, “Stepakoff did not see violence or anyone breach

         the Capitol. When Stepakoff arrived outside the Capitol, he walked left with a group of

         people because he was curious as to what was going on in front of him.”

   ii. In all the evidence collected from Mr. Stepakoff and thousands of others, none indicate that

         he ever witnessed or was near a breach of the doors through which he later entered.

H) The government claims that because other individuals entered the Capitol through a window, Mr.

   Stepakoff should go to jail.

   i.    The government asked Mr. Stepakoff whether he saw individuals climbing through windows

         near the entrance he walked through and he said no. The video clearly shows that he does not

         look in the direction where some enter through a window. The same goes for a statue that the

         government claims was on the ground. Mr. Stepakoff had no idea what the government was

         talking about with reference to the statue, even after watching the CCTV videos. The FBI

         FD-302 corroborates this: “Stepakoff did not see people entering the Capitol through broken




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               windows. Stepakoff did not see a wooden podium on the ground when he entered the Capitol

               nor did he see broken windows because he was not paying attention.”

        ii. Furthermore, Danielle Doyle, who did enter through a window received a fine and two

               months of probation, not a jail sentence.3 The government’s request for a jail sentence based

               on the window entry of others is thus absolutely ridiculous.

    I) The government claims that Mr. Stepakoff “spread false information on social media glorifying

        the events of on January 6” — yet Mr. Stepakoff believed what he was saying is absolutely true,

        and he told the government as such. “After watching the news, Stepakoff was in denial and did

        not believe there was widespread violence at the Capitol. Stepakoff initially believed the violence

        was caused by Antifa,” the FBI agent wrote in his FD-302.

        i.     Even if a hypothetical defendant knew such information was false, there would still be no

               basis for incarceration on such grounds. Kavanaugh protesters readily defended their actions

               after their arrests, as did the 2017 inauguration arrestees.4

    J) Indeed, Mr. Stepakoff did not know that entering the Capitol was unlawful. The government

        claims disbelief and surprise at this. (The government’s choice not to prosecute any other

        individuals other than this group might have had something to do with the out-of-state January 6

        participants being unaware of the associated criminality.) Mr. Stepakoff had his face open and

        shook hands with a police officer. Is this the behavior of a man who believes he is breaking the

        law? Of course not. Sure, Mr. Stepakoff once worked as a lawyer. But he never practiced in DC,

        and the government knows this. Mr. Stepakoff practiced criminal law in Florida and stopped

        doing so 22 years ago. See also Paragraph A supra.

    K) Knowing full well that “storming the gates, so to speak” is a religious euphemism (the FBI agent

        who interviewed Mr. Stepakoff admitted that indeed he knew the religious phrase and its

        innocuous meaning) the government nonetheless chose to use this langue to imply something


3 See Appendix to Government’s Sentencing Memorandum; Capitol Breach Cases, Doyle, Danielle Nicole, DOJ
(10/4/2021), https://www.justice.gov/usao-dc/defendants/doyle-danielle-nicole.
4 Associated Press, Government drops charges against all inauguration protesters, NBC News (7/6/2021), https://
www.nbcnews.com/news/us-news/government-drops-charges-against-all-inauguration-protesters-n889531 (“‘The
solidarity we showed as defendants won out,’ said one defendant whose charges were dropped.”).


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    other than what it knew the phrase to be — just to bolster their case against the defendant.

    “Storming the gates of heaven” is a religious phrase that indicates prayer in front of the gates of

    heaven. It does not imply criminal intent to unlawfully enter heaven. Nor the Capitol. In fact, Mr.

    Stepakoff was clearly describing the peaceful protest in front of the Capitol when he used the

    expression. The protestors were already storming the Gates when he made the statement, by

    “standing outside the Capitol” and roaring in protest — that is what Mr. Stepakoff described in

    his video. This was yet another shameless stab at the Rabbi.

    The FBI agent interviewing Mr. Stepakoff made a note in his FD-302 regarding the expression:




L) The government’s accusation of “willful blindness” directly contradicts their case-specific

    evidence in this matter. The video of the offense depicts an incognizant, aloof, unassuming man

    who appears out of place and unaware of what’s happening around him. The government’s novel

    imposition of a standard of omniscience on a defendant as key to avoiding jail time is plainly

    absurd. We do not jail people for what they didn’t do, didn’t notice, or didn’t see. We live in a

    crowded world with all types of people in it. Michael Stepakoff isn’t James Bond — and that’s

    okay, he lives on with the consequences of his personality.

M) The government argues at sentencing that the “attack” interrupted the certification of the 2020

    Electoral College vote count, yet their own Statement of Facts is careful not to make this

    assertion. After all, the protestors did not make their way into the building until after the recesses




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        were called in both the House and the Senate. It appears most probable that the recesses were

        called as a result of the pipe bombs that were located at the RNC and DNC buildings shortly

        before these recesses were called.5 This also explains why the House was called into recess at

        2:18 PM and then resumed at 2:26 PM. There is no known case connection between the DOJ pipe

        bomb investigation and the “Capitol Breach” investigations. Regardless, Mr. Stepakoff did not

        enter the Capitol until after 3 P.M.

    N) The government states that “Stepakoff’s continued insistence that he did not understand that he

        was not permitted to enter the Capitol Building … call into question both the extent of his

        remorse and whether he would make a similar bad decision… .” The reason why Mr. Stepakoff

        insists that he did not know that it was unlawful to enter the Capitol is because he did not know.

        This has nothing to do with remorse, it has to do with the truth. The government appears to ask

        Mr. Stepakoff to lie and to state that he did know at the time that his behavior was

        unlawful, trying to lure him into some sort of brownie point reward system for “remorse.”

        This is unethical and would be a fraud on the Court. Mr. Stepakoff did not know what he

        did not know, and he will not lie, even to appease the Federal government.

        i.    The FBI FD-302 clearly notes: “If he had seen any violence, Stepakoff would have done a U-

              turn and walked away.”

        ii. As for Mr. Stepakoff making “a similar bad decision” — Mr. Stepakoff stated to the FBI that

              had he known it was unlawful to enter the Capitol, he would not have done so, that he wishes

              he did not enter now that he knows it was a criminal act to do so. He then repeated it. And

              then he repeated it again. He later repeated this once more to the pretrial probation officer.

              This statement is the definition of remorse.

        iii. The FBI FD-302 also states: “Stepakoff now realizes entering the Capitol was wrong. At the

              time he did it, he did not think it was wrong.”




5See U.S. Senate Media, Written Testimony of USCP Former Chief of Police Steven A. Sund before the Senate
Committee on Rules and Administration and the Senate Homeland Security and Government Affairs Committee,
U.S. Senate (2/23/2021), https://www.hsgac.senate.gov/imo/media/doc/Testimony-Sund-2021-02-23.pdf.


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         THE GOVERNMENT SEEKS AN UNLAWFUL PENALTY
———————————————————————————————————————

        This court’s ability to penalize a defendant is not unlimited. Instead, the penalties for each

conviction are limited by the United States Code, which authorizes this Court to order limited

punishment for a defendant convicted of a particular offense. Pursuant 18 U.S.C. § 3551, this

court only has the power to impose (1) a term of probation, (2) a fine as authorized, or (3) a term

of imprisonment. The Court must choose one penalty but cannot impose all of them — note

Congress’ use of a disjunctive “or” instead of a conjunctive “and” in the enumeration of the

penalties. An exception is carved out in 18 U.S.C. § 3551 for a fine — a fine is explicitly

permitted to be tacked to another penalty.6 No other tacking or conjunctive exceptions are

specified.




6Invoking this penalty range, the penalties for 40 U.S.C. §5104(e)(2)(G), which are outlined in 40 U.S.C. §5109(b),
only permit a fine, imprisonment for up to six months, or both.


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        Then, 18 U.S.C. § 3561(a)(c) repeats Congress’ limitation on the Court to order both

probation and imprisonment, stating that probation may be ordered unless the defendant is

sentenced a term of imprisonment for the same offense. See also United States v. Martin, 363

F.3d 25, 35 (1st Cir. 2004) (“both § 3551(b) and § 3561 require a district court to choose between

probation and imprisonment when imposing its original sentence”).7

        Congress did not stop there — they also expressed the intent for penalties under U.S.

Code to be ordered fairly, stating more broadly that an appropriate criminal sentence is defined

as one that is “sufficient, but not greater than necessary.” See 18 U.S.C. § 3553.

        Just as there is no authority to impose the conjunctive penalty, there is also no notification

to the defendant.

        The U.S. Code serves as notice to all People as to U.S. crime and punishment. Therefore,

Courts cannot impose penalties in excess of these notifications without running afoul of the Fifth

Amendment’s Due Process Clause and the standard of fair notice to defendants. See BMW of

North America, Inc. v. Gore, 517 U.S. 559, 574 (1996) (“Elementary notions of fairness

enshrined in this Court's constitutional jurisprudence dictate that a person receive fair notice not

only of the conduct that will subject him to punishment but also of the severity of the penalty that

a State may impose.”); Winters v. New York, 333 U. S. 507, 515 (1948) (“The standards of

certainty in statutes punishing for offenses is higher than in those depending primarily upon civil

7 Accord United States v. Medenbach, 729 Fed. Appx. 606, 607 (9th Cir 2018) (unpublished) (“It is therefore plain
error for a judgment to impose, as a condition of probation, a continuously served custodial sentence.”); United
States v. Andrade-Castillo, 585 Fed. Appx. 346, 347 (9th Cir. 2014) (unpublished) (“This combination of probation
plus a term of imprisonment was unlawful [] even when the custodial component of the sentence is limited to time
served.”); United States v. Baca, No. EDCR 11–0001–VAP, 2011 WL 1045104, at * 2 (C.D. Cal. March 18, 2011)
(vacating conviction for a petty misdemeanor due to improper “split sentence” for both incarceration and probation);
United States v. Anderson, 787 F. Supp. 537, 539 (D. Md. 1992) (in Class B misdemeanor case, vacating joint
sentence of incarceration and probation because “a period of ‘straight’ imprisonment cannot be imposed at the same
time as a sentence of probation”).


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sanction for enforcement.”); United States v. Allen, 983 F.3d 463, 472 (10th Cir. 2020) (“… the

Due Process Clause requires that criminal laws have clear prohibitions and penalties, because

persons ‘of common intelligence cannot be required to guess’ what conduct the law prohibits and

what penalties apply when the law is violated.”); Lankford v. Idaho, 500 U. S. 110 (1991) (due

process violated because the defendant and his counsel did not have adequate notice that judge

might impose death sentence); Jones v. United States, 526 U.S. 227 (1999). See also United

States v. Batchelder, 442 U.S. 114, 121 (1979) (discussing the rule of lenity as it applies to

sentencing and to substantive provisions used in determining penalties); Miller v. Florida, 482 U.

S. 423 (1987) (Ex Post Facto Clause violated by the retroactive imposition of revised sentencing

guidelines that provided longer sentence for defendant's crime); Bouie v. City of Columbia, 378

U. S. 347 (1964) (retroactive application of new construction of statute violated due process).

Nowhere in the U.S. code is notification given to the People that the Court can impose a

combined sentence of both probation and incarceration for a Class B misdemeanor offense.

       In this case, the government seeks a penalty of imprisonment and a penalty of probation,

for the same offense, in violation of both 18 U.S.C. 3551 and 18 U.S.C. 3561. This Court has no

authority to order the penalty requested by the government, nor has the defendant received

adequate notice prior to the date of the offense that this is a penalty permitted by law. The

penalty requested by the government is plainly unlawful. This penalty is also excessive under 18

U.S.C. § 3553. The government cites to an unpublished decision in support of their

unconstitutional proposition, a case that did not address these statutes, nor Due Process, in

addition to some decisions from District-level judges in cases where the defendants did not raise




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an objection to this penalty. The Bill of Rights and the Code of the United States embody the

binding law on this Court.

       The government's overreaching arguments are neither persuasive nor binding on this

court. Nor is the government’s overtly overzealous persecution of a Rabbi in any way

impressive, especially when considering this behavior against the backdrop of the government's

objective duties to both the People and the defendant. See Berger v. United States, 295 U.S. 78,

88 (1935) (“The United States Attorney is the representative not of an ordinary party to a

controversy, but of a sovereignty whose obligation to govern impartially is as compelling as its

obligation to govern at all; and whose interest, therefore, in a criminal prosecution is not that it

shall win a case, but that justice shall be done.”); see also United States v. Ward, 63 F. Supp. 2d

1203 (C.D. Cal. 1999) (“The prosecutor speaks not solely for the victim, or the police, or those

who support them, but for all the People. That body of `The People' includes the defendant and

his family and those who care about him.”)(internal citations omitted).

       The defendant, therefore, objects to the government’s requested sentence as

unconstitutional, unlawful, and unjust.



                 CONCLUSION
———————————————————————————————————————

       In an extraordinary act, the United States government has asked this Court to imprison a

Rabbi for peacefully entering the Capitol in an act of protest, looking around, and shaking hands

with a police officer, exiting 5 minutes after entering. The government audaciously goes beyond

that — asks this court to impose a penalty harsher than the one authorized by law, and




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misrepresents Michael Stepakoff’s legal background and character in a shameless attempt to jail

a Rabbi.

       As argued in the Defendant’s Memorandum in Aid of Sentencing, the appropriate sentence

for Mr. Stepakoff, a 56-year-old Messianic Rabbi with a clean record, a loyal husband and loving

father to four children, is a fine in the amount of $50 for his first offense Class B misdemeanor

conviction for Parading, Demonstrating, or Picketing in a Capitol Building under 40 U.S.C.

§5104(e)(2)(G).



                                              Date: January 18, 2022

                                              Respectfully submitted,
                                              By Counsel:

                                                     /s/
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on January 18, 2022, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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